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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION



UNITED STATES OF AMERICA

       v.                                               Case No. 8:02-CR-308-T-17TGW

MARSHALL LUTHER SALTER



                                         ORDER



       BEFORE THE COURT is a motion filed by the United States of America and the

Director of the Federal Bureau of Prisons pursuant to 18 U.S.C. § 3582(c)(1)(A)(i),

seeking a modification of the term of imprisonment of defendant, Marshall Luther

Salter, to time served, and commencement of a five-year term of supervised release

previously imposed. The court finds:

       1. Defendant, Marshall Luther Salter, pled guilty to violating Title 21 U.S.C. §

841(a)(1) and § 846, Conspiracy to Possess with the Intent to Distribute Cocaine Base.

      2. He was sentenced on June 30, 2003, in the United States District Court for the

Middle District of Florida, Tampa Division, to a total term of imprisonment of 120 months

followed by a five-year term of supervised release.

      3. Mr. Salter's projected release date is April 30, 2011, via Good Conduct Time, but

he is not expected to survive to that date.

      4. Mr. Salter, age 73, suffers from metastatic carcinoma of the colon diagnosed in

August 2008. His treatment has been complicated by a number of conditions, including

chronic obstructive pulmonary disease (COPD), insulin dependent diabetes, hypertension,

hyperthyroidism, stroke, epilepsy, and chronic pain syndrome. He is confined to a
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wheelchair for mobility and requires some assistance with his Activities of Daily Living

(ADLs). His pain management plan requires frequent adjustments to address continuous

pain. There is no curative treatment available and his life expectancy is estimated at less

than six months.


      5. Title 18 U.S.C. § 3582(c)(1)(A)(i) authorizes the Court, upon motion of the

Director of the Bureau of Prisons, to modify a term of imprisonment upon the finding that

extraordinary and compelling reasons warrant the reduction. The Director of the Bureau of

Prisons contends, and this Court agrees, that the defendant's terminal medical condition

and limited life expectancy constitute extraordinary and compelling reasons that warrant the

requested reduction.

       IT IS THEREFORE ORDERED that the defendant's term of imprisonment is hereby

reduced to the time he has already served.

       IT IS FURTHER ORDERED that the defendant shall be released from the custody of

the Federal Bureau of Prisons as soon as his medical condition permits, the release plan is

implemented, and travel arrangements can be made.
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           IT IS FURTHER ORDERED that upon his release from the custody of the Federal

 Bureau of Prisons, the defendant shall begin serving the five-year term of supervised

 release previously imposed. Mr. Salter should be prohibited from operating a motor vehicle

 as an additional condition of probation, due to his extensive history of motor vehicle

violations.



          DONE AND ORDERED THIS / / DAY OF AUGUST, 2010.




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